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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


KURT MIRANDETTE,

          Plaintiff,                        Case No. 1:16−cv−00050−GJQ−RSK

    v.                                      Hon. Gordon J. Quist

NELNET SERVICING, LLC, et al.,

          Defendants.
                                        /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):     Status Conference
Date/Time:              July 3, 2018 10:00 AM
Magistrate Judge:       Ray Kent
Place/Location:         584 Federal Building, Grand Rapids, MI

The status conference will be held VIA TELEPHONE. Plaintiff's counsel shall
initiate the telephone conference. Judge's chambers can be reached at (616)
456−2568.

                                        RAY KENT
                                        U.S. Magistrate Judge

Dated: June 28, 2018              By:    /s/ Faith Hunter Webb
                                        Judicial Assistant
